              Case 2:14-cv-01957-BJR Document 870 Filed 05/15/20 Page 1 of 2




 1                                                               The Honorable Barbara J. Rothstein

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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9 KING COUNTY, a Washington municipal
   corporation,                                          No. 2:14-cv-01957 BJR
10
                  Plaintiff,                             ORDER GRANTING PLAINTIFF
11                                                       KING COUNTY’S MOTION FOR
          v.                                             ENTRY OF FINAL JUDGMENT AND
12
                                                         FINAL JUDGMENT
   TRAVELERS INDEMNITY CO., et al.,
13
                  Defendants.
14

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                                    ORDER AND FINAL JUDGMENT
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            This matter came before the undersigned Judge of the above entitled Court upon the
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     Motion of Plaintiff King County for Entry of Final Judgment (“Plaintiff’s Motion”); and
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            The Court having considered the following:
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            1)      Plaintiff’s Motion;
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            2)      Response filed by Lexington Insurance Company and National Union Fire
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     Insurance Company of Pittsburgh, PA (collectively, the “AIG Companies”); and
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            3)      Plaintiff’s Reply in Support of Motion;
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            NOW, THEREFORE, it is hereby ORDERED:
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            1. Plaintiff King County’s Motion for Entry of Final Judgment is GRANTED; and
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     ORDER AND                                                                    925 FOURTH AVENUE
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     FINAL JUDGMENT- 1                                                         TELEPHONE: (206) 623-7580
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     Case No. 2:14-cv-01957-BJR
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 1          2. On the basis of the Court’s Order dated June 11, 2018 (Dkt. # 681) granting summary

 2              judgment in favor of the AIG Companies and against King County, dismissing King

 3              County’s claims against the AIG Companies, the Court GRANTS and ENTERS final

 4              judgment in favor of the AIG Companies and against King County.

 5          3. All other claims at issue in this action were previously dismissed as reflected on the

 6              docket for this action.

 7          4. This Order shall constitute entry of final judgment in this action.

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            DONE IN COURT this 15th day of May, 2020.
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11                                                        A
                                                          Barbara Jacobs Rothstein
12                                                        U.S. District Court Judge
13 Presented by:

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